              Case 3:22-cv-05231-BHS Document 14 Filed 10/13/22 Page 1 of 3




 1                                                           The Honorable Benjamin H. Settle

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 6                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                AT TACOMA

 8
      JERITA R. YOUNG,                                      NO. 3:22-CV-05231-BHS
 9
                                           Plaintiffs,      STIPULATED MOTION FOR
10    v.                                                    EXTENSION OF INITIAL
                                                            SCHEDULING DEADLINES
11    UNITED STATES OF AMERICA dba U.S.                     AND ORDER
      DEPARTMENT OF THE ARMY and
12    MADIGAN ARMY MEDICAL CENTER, a                        Noted for Consideration:
      governmental agency;                                  October 12, 2022
13
                                        Defendants.
14
            The parties, by and through their undersigned attorneys, hereby stipulate to an
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     extension of the initial scheduling dates in the above-entitled matter. Good cause exists
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     for extending these deadlines because delays in response time of public disclosure
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     requests, through no doing of Plaintiff, have impacted Plaintiff’s ability to make
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     complete initial disclosures. Further, Plaintiff is in the process of retaining additional
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     or substitute counsel on this matter with the intent that new counsel will lead in
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     cooperating with Defendant’s counsel to complete the joint status report. The parties
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     are currently actively cooperating to exchange initial disclosures and finalize a
22
      STIPULATED MOTION                       Page 1 of 3               DOVINH LAW PLLC
      FOR EXTENSION OF INITIAL                                          1700 7th Ave Suite 2100
      SCHEDULING DEADLINES                                                Seattle, WA 98101
      [3:22-CV-05231-BHS]                                                  O: 206-486-7177
                                                                           F: 206-374-3086
              Case 3:22-cv-05231-BHS Document 14 Filed 10/13/22 Page 2 of 3




 1   combined Joint Status Report (JSR). A 30-day extension of the initial case scheduling

 2   deadlines will be sufficient for initial disclosures and the JSR to be completed.

 3          For the reasons set forth above, the parties believe that there is good cause to

 4   request an extension of the initial disclosure and joint status report deadlines and

 5   respectfully request that the Court grant their motion.

 6          SO STIPULATED.

 7   Dated this 12th day of October, 2022.

 8                                                      DOVINH LAW, PLLC

 9                                                      /s/Betty T. Dovinh
                                                        Betty Dovinh, WSBA #50681
10                                                      1700 7th Ave Suite 2100
                                                        Seattle, Washington 98101
11                                                      Phone: 206-486-7177
                                                        Facsimile: 206-374-3086
12                                                      Email: betty@dovinhlaw.com

13                                                      Attorney for Plaintiff Jerita Young

14
                                                        NICHOLAS BROWN
15                                                      United States Attorney

16
                                                        /s/ Whitney Passmore_________
17                                                      Whitney Passmore, FL #91922
                                                        Assistant United States Attorney
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                                                        United States Attorney’s Office
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19
                                                        Seattle, Washington 98101
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21
                                                        Attorney for Defendant United States
22
      STIPULATED MOTION                       Page 2 of 3               DOVINH LAW PLLC
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                                                                           F: 206-374-3086
           Case 3:22-cv-05231-BHS Document 14 Filed 10/13/22 Page 3 of 3




 1                                    ORDER

 2        IT IS SO ORDERED.

 3        Dated this 13th day of October, 2022.




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                                             BENJAMIN H. SETTLE
 7                                           United States District Judge

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     STIPULATED MOTION                      Page 3 of 3               DOVINH LAW PLLC
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